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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                REVISED
            STANDING ORDER REGARDING APPEARANCE OF COUNSEL
                   VIA TELEPHONE OR VIDEOCONFERENCE

CASPER, J.                                                                       April 3, 2020

       In light of the necessity of the issuance of various General Orders issued by the Court over

the past few weeks and the state of emergency that exists in the Commonwealth of Massachusetts

and throughout the United States as the result of the spread of the coronavirus and COVID-19, the

Court expects counsel to appear now via telephone (or by video conference, in some

circumstances) for most proceedings. The Court notes that during these telephonic and/or video

proceedings, it is important that all participants, including counsel, endeavor to ensure that an

accurate record of the proceedings is maintained as all such proceedings are being transcribed by

the court reporter. In furtherance of that interest, the Court adopts the following requirements as

to videoconferences:


       1. Use the mute function if you are not speaking.

       2. If the videoconference is through Zoom, please use both the video and audio features.
          If you will not have access to a computer/laptop/phone with a camera to use the video
          feature on Zoom, please contact Lisa Hourihan, the courtroom deputy in advance of the
          proceeding.

       3. If the videoconference is through Zoom, please ensure that your device will identify
          you by first name and last name on the screen (not by initials or phone number).

       4. Please remember to speak slowly and clearly.

       As to telephonic appearances, requirements one and four above apply along with the

following requirements:
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       5. To the extent that counsel can call on a land line, please do so. It greatly enhances the
          quality of the transmission.

       6. Please do not use the speaker function on your phone.

       7. Please do not enable or use a voice activated system.

       8. While on the phone, it is particularly important that counsel not speak over other
          participants. Please pause before speaking so you do not risk doing so.

       9. Before speaking, identify yourself again for the record.

       The Court also reminds counsel, and all participants to any proceedings, of the prohibition

against any recording or broadcast of court proceeding under Local Rule 83.3(a) (and, in criminal

cases, under Fed. R. Crim. 53).

       This Order replaces and supersedes the Court’s Standing Order of March 25, 2020.

So Ordered.

                                                            /s/ Denise J. Casper
                                                            Denise J. Casper
                                                            United States District Judge
